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                                         March 21, 2025



Via Email

Jason Dare Esq.
BIGGS, INGRAM & SOLOP, PLLC
Post Office Box
14028 Jackson,
Mississippi 39236-
4028

Re:     Discovery matters; re: 3:23-cv-374-DPJ-ASH

Dear Jason:

Per our 3/20/2025 Conference Call with Magistrate Harris, here are plaintiffs list of remaining
discovery issues with defense counsel. I am available to discuss these matters anytime on Monday.

       DISCOVERY ISSUE                                          STATUS
 Plaintiffs’ RPD #6                Plaintiffs’ is hereby further identifying all taser logs needed
                                   for all people listed in plaintiffs’ interrogatory #3.

                                    Plaintiff Requests: all Taser reports in your possession
                                   which refer to the specific incidents and/ or arrests listed
                                   below involving: Joey Gerhart and Brett Gerhart Samuel
                                   Carter Alan Schmidt Rick Loveday Christopher Holloway
                                   Maurice Porter Barry Yawn and Jacobi Hopkins

                                   Joey Gerhart and Brett Gerhart
                                   Date of incident: 6-7-2010
                                   Taser logs needed: Brett McAlpin: Bradley McClendon:
                                   Johhnie Barnes

                                   Samuel Carter
                                   Date of incident: 6-9-2016 [RC 1303]
                                   Taser Logs Needed: Brett McAlpin; James Rayborn; Gerald
                                   Bacon; George Barrentine; Joshua Macko; Drew Payne;
                                   Christiana Dolan; Gary Williams; Craig Williams
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                                   Alan Schmidt
                                   Date of incident: 12-2-2022
                                   Taser logs needed: Christian Dedmon; Hunter Elward

                                   Rick Loveday:
                                   Date of incident: 10-23-18
                                   Taser logs needed: Christian Dedmon; Luke Stickman;
                                   Roger Chad Thornton; Cody Grogan


                                   Christopher Holloway 6-9-2016
                                   Date of incident: 6-9-2016 [RC 1303]
                                   Taser Logs Needed: Brett McAlpin; James Rayborn; Gerald
                                   Bacon; George Barrentine; Joshua Macko; Drew Payne;
                                   Christiana Dolan; Gary Williams; Craig Williams

                                   Maurice Porter
                                   Date of incident: 3-27-2019 [RC 1635]
                                   Taser Logs Needed: Brett McAlpin; Christian Dedmon;
                                   Hunter Elward; Luke Stickman

                                   Barry Yawn
                                   Date of incident: 5-31-2022
                                   Taser Logs Needed: Christan Dedmon; Cody Hamilton;
                                   Deputy Opdyke

                                   Jacobi Hopkins:
                                   Date of incident: 6/19/2021
                                   Taser Logs Needed: Christian Dedmon; Luke Stickman


Plaintiffs’ RPD # 15
                                   SUPPLEMENTAL RESPONSE: In addition to the foregoing
Produce all documents              objections, Rankin County objects to production of the
associated with any and all        entirety of any internal investigations file to the extent that
requests for information           any Garrity statements were provided and/or to the extent that
delivered to you by the U.S.       production of investigative notes and/or findings of IA
DOJ and/or the Mississippi         investigators would deter future cooperation with IA
Bureau of Investigation            investigations.
following the January 2023
incident which is the subject of   Rankin County will produce all documents and/or tangible
this lawsuit.                      items collected by its IA investigators for the incident at issue
                                   and all similar allegations. Rankin County does not produce
                                   IA files # 2023071341-PTS (relating to a dog falling out of a
                                   civilian’s car window), # 2023080002-IAD (related to a
                                   civilian altercation), # 2023090001-IAD (related to animals at
                                   the Rankin County Animal Shelter); and # 2023100001-IAD


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                                    (related to a deputy knocking on a civilian’s door with no
                                    answer).


                                    Plaintiffs’ Request:

                                    To alleviate any concerns that the defendant may have with
                                    respect to releasing any Garrity files and/or findings of IA
                                    investigations, the plaintiffs will execute an appropriate
                                    protective order consistent with F.R.C.P. 26(c)(1)(G).

                                           The amendments to subdivision (b) make clear
                                           the broad scope of examination and that it may
                                           cover not only evidence for use at the trial but
                                           also inquiry into matters in themselves
                                           inadmissible as evidence, but which will lead
                                           to the discovery of such evidence. The purpose
                                           of discovery is to allow a broad search for
                                           facts, the names of witnesses, or any other
                                           matters which may aid a party in the
                                           preparation or presentation of his case.

                                    Notes of Advisory Committee on Rules - 1946 Amendment
                                    Subdivision (b).

Plaintiffs’ RPD # 17                Plaintiffs anticipate receiving from Rankin County,
                                    Dedmon’s phone logs; text messages,
Plaintiff’s RPD No. 23: For the     RESPONSE: Rankin County objects to RFP #23 on the
foregoing complaints in Request     grounds that it is overly broad and/or unduly burdensome.
#21, please provide all body        The use of body worn cameras began in October of 2021, and
worn camera footage; internal       such media takes up hundreds of terabytes of storage.
investigation reports; taser logs   Further, production of IA investigation reports is objected to
and use of force and/or “offense    on the basis that such documents contain information that is
reports” which were used in         confidential and subject to the rights of the interviewee.
review of the complaints            Subject to and without waiver of all foregoing objections,
provided in Question 21.            Plaintiffs are directed to those documents dates numbered RC
                                    2770 through RC 3352.


                                    Plaintiffs’ Requests: Plaintiff is requesting defendant
                                    allow plaintiff to bring an eternal hard drive to defendant so
                                    that the body worn camera footage related to complaints and
                                    investigations be downloaded to the plaintiff.

                                     As to any documents that have been withheld based upon
                                    confidentiality or more precisely because it is alleged to be
                                    privileged, Rule 26(a)(5) requires that the asserting party
                                    must:

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                                   i) expressly make the claim; and

                                   (ii) describe the nature of the documents, communications, or
                                   tangible things not produced or disclosed—and do so in a
                                   manner that, without revealing information itself privileged
                                   or protected, will enable other parties to assess the claim.

                                   There has been no compliance with this Rule by the County.
                                   Moreover, “To withhold materials without such notice is
                                   contrary to the rule, subjects the party to sanctions under Rule
                                   37(b)(2), and may be viewed as a waiver of the privilege or
                                   protection.” Notes of Advisory Committee on Rules - 1993
                                   Amendments.


Plaintiff’s RPD #25                3 as to RPD 23

Plaintiff’s RPD 27 Please          RESPONSE: Rankin County objects to production of the
provide all documents pertaining   personnel files, including performance reviews of Elward,
to performance reviews for the     Dedmon, McAlpin, Opdyke, and Middleton on the basis
years 2018-2023 for all            that many of the documents contained therein contain
defendant deputies Elward,         privileged and/or confidential information.
Dedmon, McAlpin, Opdyke, and
Middleton, and any others          Plaintiffs Request:
involved in the Michael Jenkins
and Eddie Parker incident of       To the extent that the defendant has concerns about the
1/24/2023.                         release of the defendant officers’ personnel files, the
                                   plaintiffs agree to execute a protective order consistent with
                                   F.R.C.P 26(c)(1)(G). As such, any concerns in that regard
                                   should no longer exist. Insofar as there are additional matters
                                   of concern regarding privilege and/or confidentiality that the
                                   defendant maintains still exist despite having failed to comply
                                   with Rule 26(a)(5), the plaintiff is amenable to reasonable
                                   redactions of social security numbers, medical/insurance
                                   information, spouses names etc.
Plaintiff’s RPD #29                RESPONSE: Rankin County objects to production of the
                                   personnel files, including performance reviews of Elward,
Please provide the entire          Dedmon, McAlpin, Opdyke, and Middleton on the basis
personnel file of defendant        that many of the documents contained therein contain
deputies Elward, Dedmon,           privileged and/or confidential information.
McAlpin, Opdyke, and
Middleton.                         Plaintiffs Request:

                                   To the extent that the defendant has concerns about the
                                   release of the defendant officers’ personnel files, the
                                   plaintiffs agree to execute a protective order consistent with
                                   F.R.C.P 26(c)(1)(G). As such, any concerns in that regard
                                   should no longer exist. Insofar as there are additional matters
                                   of concern regarding privilege and/or confidentiality that the
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                           defendant maintains still exist despite having failed to comply
                           with Rule 26(a)(5), the plaintiff is amenable to reasonable
                           redactions of social security numbers, medical/insurance
                           information, spouses names etc.
 Plaintiff’s RPD #30       Plaintiffs Request: Medical files per 4 medical releases due
                           which were sent to defendant




                                           Respectfully submitted:

                                           _/s/_MALIK SHABAZZ_ESQ /S/_
                                               MALIK SHABAZZ, Esq.
                                            The Law Office of Malik Shabazz, Esq.




Cc: Trent Walker Esq.




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